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                                      United States District Court
                                                 WESTERN DISTRICT OF TEXAS
                                                       ANTONIO DIVISION
                                                   SAN ANTONIO

UNITED STATES OF AMERICA
                                                                             Case Number: 5:19-CR-00905-FB(1)
v.                                                                           USM Number: 44353-480

CHRISTOPHER FELIX MONTOYA
Alias(es):
Montoya, Christopher Felix J.
Montoya, C. Felix James
Felix, Christopher M.
Montoya, Christopher Felix James
Montoya, Christopher Felix

         Defendant.

                                          JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)

         The defendant, CHRISTOPHER FELIX MONTOYA, was represented by Alan Brown, Esq.

         Upon motion by the United States, the Court dismissed the remaining count(s) as to this defendant.

          The defendant pled guilty to Count One (1) of the Indictment on July 7, 2021. Accordingly, the defendant is adjudged
guilty of such Count(s), involving the following offense(s):

      Title & Section                         Nature of Offense                       Offense Ended                     Count

      18 U.S.C. § 371              Conspiracy to Defraud the United States              06/30/2019                      One (1)
                                    by Paying and Receiving Healthcare
                                                 Kickbacks

         As pronounced on November 30, 2021, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

         SIGNED this 15th day of December, 2021.




                                                Fred Biery
                                                UNITED STATES DISTRICT JUDGE
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DEFENDANT:                 CHRISTOPHER FELIX MONTOYA
CASE NUMBER:               5:19-CR-00905-FB(1)

                                                       IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
eighteen (18) months as to count one (1) with credit for time served while in custody for this federal offense pursuant to 18
U.S.C. § 3585(b). This term of imprisonment to run consecutively to the term imposed in case #5:20-CR-00095.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons at or before 2:00
PM when notified to report by the United States Pretrial Services. However, the defendant shall not be required to report prior to
February 07, 2022.




                                                            RETURN

I have executed this judgment as follows:




         Defendant delivered on                                    to

at                                      , with a certified copy of this judgment.



                                                                                          UNITED STATES MARSHAL



                                                                                                  By
                                                                                     DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                  CHRISTOPHER FELIX MONTOYA
CASE NUMBER:                5:19-CR-00905-FB(1)

                                                    SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years. This term of
supervised release to run concurrently to the term imposed in case #5:20-CR-00095.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court, and shall comply with the following additional conditions:

         1.   The defendant shall provide the probation officer with access to any requested financial information and authorize the
              release of any financial information. The probation office may share financial information with the U.S. Attorney’s
              Office.
        2.    The defendant and Nancy Almaguer shall jointly and severally pay restitution that is imposed by this judgment
              that remains unpaid at the commencement of the term of supervised release in 5:19CR00905.
        3.    If the defendant is unable to pay the Special assessment and Restitution immediately, the defendant shall pay the entire
              amount of the Special assessment and Restitution at the rate of no less than $100 per month, due by the third day of each
              month beginning upon the commencement of supervision. The Court imposed payment schedule shall not prevent
              statutorily authorized collection efforts by the U.S. Attorney. The defendant shall cooperate fully with the U.S. Attorney
              and the U.S. Probation Office to make payment in full as soon as possible.
        4.    The defendant shall participate in a mental health treatment program and follow the rules and regulations of that
              program. The probation officer, in consultation with the treatment provider, shall supervise participation in the program
              (provider, location, modality, duration, intensity, etc.). The defendant shall pay the costs of such treatment if financially
              able.
        5.    The defendant shall take all mental health medications that are prescribed by the treating physician.
        6.    The defendant shall not be permitted to write prescriptions during the term of supervision.
        7.    The defendant shall not practice or be employed as a Physician’s Assistant without a license or be employed in
              the healthcare field.
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DEFENDANT:                 CHRISTOPHER FELIX MONTOYA
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                                          CONDITIONS OF SUPERVISION
Mandatory Conditions:

     1) The defendant shall not commit another federal, state, or local crime during the term of supervision.

     2) The defendant shall not unlawfully possess a controlled substance.

     3) The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by
        the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant’s
        presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

     4) The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a
         sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

     5) If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42
         U.S.C. § 16901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

     6) If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
         program for domestic violence.

     7) If the judgment imposes restitution, the defendant shall pay the ordered restitution in accordance with 18 U.S.C. §§ 2248,
         2259, 2264, 2327, 3663, 3663A, and 3664. (if applicable)

     8) The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

     9) If the judgment imposes a fine, it is a condition of supervision that the defendant, pay in accordance with the Schedule of
         Payments sheet of the judgment.

     10) The defendant shall notify the court of any material change in the defendant’s economic circumstances that might affect the
         defendant’s ability to pay restitution, fines or special assessments.

Standard Conditions:

     1) The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within
        seventy-two (72) hours of release from imprisonment, unless the probation officer instructs the defendant to report to a
        different probation office or within a different time frame.

     2) After initially report to the probation office, the defendant will receive instructions from the court or the probation officer
        about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed.

     3) The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
        getting permission from the court or the probation officer.

     4) The defendant shall answer truthfully the questions asked by the probation officer.

     5) The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
        or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
        probation officer at least ten (10) days before the change. If notifying the probation officer in advance is not possible due to
        unanticipated circumstances, the defendant shall notify the probation officer within seventy-two (72) hours of becoming
        aware of a change or expected change.

     6) The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
        defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant’s supervision that
        are observed in plain view.
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     7) The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
        excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full­
        time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where
        the defendant works or anything about his or her work (such as the position or job responsibilities), the defendant shall notify
        the probation officer at least ten (10) days before the change. If notifying the probation officer at least ten (10) days in
        advance is not possible due to unanticipated circumstances, the defendant shall notify the probation officer within seventy-
        two (72) hours of becoming aware of a change or expected change.

     8) The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
        defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
        that person without first getting the permission of the probation officer.

     9) If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer within
        seventy-two (72) hours.

     10) The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
        anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another person such
        as nunchakus or tasers).

     11) The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
        informant without first getting the permission of the court.

     12) If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation
        officer may require the defendant to notify the person about the risk and the defendant shall comply with that instruction.
        The probation officer may contact the person and confirm that the defendant has notified the person about the risk.

     13) The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

     14) If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pays such
        penalties in accordance with the Schedule of Payments sheet of the judgment.

     15) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
        supervision that the defendant shall provide the probation officer access to any requested financial information.

     16) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
        supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
        the probation officer, unless the defendant is in compliance with the payment schedule.

     17) If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
        shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United States.
        If the defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of
        probation or supervised release, the defendant shall immediately report to the nearest U.S. Probation Officer.
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     DEFENDANT:                            CHRISTOPHER FELIX MONTOYA
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                                           CRIMINAL MONETARY PENALTIES/SCHEDULE

            The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
   payments set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of
   criminal monetary penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those payments
   made through Federal Bureau of Prisons' Inmate Financial Responsibility Program, shall be paid through the Clerk, United
   States District Court, Attn: Mail Log, 262 West Nueva Street, San Antonio, TX 78207 or online by Debit (credit cards not
   accepted) or ACH payment (direct from Checking or Savings Account) through Pay.gov (link accessible on the landing page
   of the U.S. District Court’s Website). Your mail-in or online payment must include your case number in the exact
   format of DTXW519CR00905-001 to ensure proper application to your criminal monetary penalty. The defendant
   shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
              .
                                                          Assessment                             Fine                  Restitution
    TOTALS                                                   $100.00                             $.00                   $52,604.52

                                                                                SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum shall
     begin immediately
                                                                       FINE

                   The fine is waived because of the defendant's inability to pay.

                                                              RESTITUTION – JOINTLY AND SEVERALLY

              The defendant shall pay restitution in the amount of $52,604.52 through the Clerk, U.S. District Court, for distribution to the
     payee(s). Payment of this sum shall begin immediately. Defendant Christopher Montoya will owe the victim(s) jointly and severally
     with co-defendant(s) Nancy Almaguer. No further payment shall be required after the sum of the amounts actually paid by the
     defendant(s)/participant(s) has fully covered all compensable injuries.

              The Court directs the United States Probation Office to provide personal identifier information of victims by submitting a
     "reference list'' under seal Pursuant to E-Government Act of 2002'' to the District Clerk within ten (10) days after the criminal
     Judgment has been entered.

     Name of Payee                                                                                                                Amount of Restitution
     Medicare                                                                                                                     $46,651.89
     Attn: Veronica Moore
     CMS: Division of Accounting
     P.O. Box 7520
     Baltimore, MD 21207-0520

     TRICARE                                                                                                                         $5,952.63
     Defense Health Agency                                                                                    Total:                $52,604.52
     Resource Management Division
     ATTN: Contract Resource Management
     16401 East Centretech Parkway
     Aurora, CO 80011-9043
     DHA TIN: XX-XXXXXXX

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.
            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.
           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).
             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
            Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
